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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 In re:                                          §
                                                 §   Chapter 15
                                                 §
 Q’MAX SOLUTIONS INC.,                           §
                                                 §   Case No. 20-34791 (MI)
                                                 §
          Debtor in a Foreign Proceeding.        §
                                                 §


  DECLARATION OF RECEIVER IN SUPPORT OF (A) VERIFIED PETITION FOR
  (I) RECOGNITION OF FOREIGN MAIN PROCEEDING, (II) RECOGNITION OF
 FOREIGN REPRESENTATIVE, AND (III) RELATED RELIEF UNDER CHAPTER 15
  OF THE BANKRUPTCY CODE, AND (B) RECEIVER’S EMERGENCY EX PARTE
      APPLICATION FOR TEMPORARY RESTRAINING ORDER AND RELIEF
    PURSUANT TO SECTIONS 105(A) AND 1519 OF THE BANKRUPTCY CODE

I, Anamika Gadia, do hereby declare as follows:

          1.        I am over the age of 18, and I am authorized to submit this declaration (the

“Declaration”) on behalf of the Receiver (as defined below).

          2.        I am a Senior Vice President at KPMG Inc. (“KPMG”). I hold a Bachelor of

Commerce (Honours) from Queen’s University. I have more than 15 years of experience in

corporate restructuring, turnaround consulting, and cost reduction, and I have worked on a wide

range of assignments across various industries, including a number of high-profile mandates. I

lead the Restructuring and Turnaround group at KPMG in Canada, am a member of the Canadian

Association of Insolvency and Restructuring Professionals and International Women’s Insolvency

& Restructuring Confederation, a board member of the Turnaround Management Association

(“TMA”), Toronto Chapter, and serve or have served on committees of the TMA. My office is

located at Bay Adelaide Centre; 333 Bay Street, Suite 4600; Toronto, ON M5H 2S5.




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           3.       KPMG is the court-appointed receiver and manager (“Receiver”) of Q’Max

Solutions Inc. (“QSI” or the “Debtor”) pursuant to the Consent Receivership Order dated

May 28, 2020 (the “Receivership Order”), entered by the Court of Queen’s Bench of Alberta in

Judicial Centre of Calgary, Alberta, Canada, Court File No. 2001-06722 (the “Canadian Court”

and the “Canadian Proceeding”) under Canada’s Bankruptcy and Insolvency Act (“BIA”). Also

pursuant to the Receivership Order, KPMG is the Receiver of certain other affiliated debtors, as

described below.

           4.       I am the Senior Vice President in charge at KPMG in connection with its role as

Receiver, and I am authorized to provide this Declaration by and on behalf of the Receiver.

           5.       Acting on behalf of the Receiver, I have investigated the business and affairs of the

Debtor to the best of my ability since my engagement on this matter, and make this Declaration

based on that investigation. All facts set forth in this Declaration are based upon my personal

knowledge; my review of relevant documents; information provided to me by employees of

KPMG working under my direction or supervision; my discussions with current or former

representatives and/or agents of the Debtor, the other Canadian Debtors, or other entities in the

Q’Max Group (each as defined herein); and/or my opinions based upon my experience concerning

the Debtor’s operations and financial condition. If called to testify, I could and would testify

competently as stated herein.

           6.       I submit this Declaration in support of the Verified Petition for (I) Recognition of

Foreign Main Proceeding, (II) Recognition of Foreign Representative, and (III) Related Relief

Under Chapter 15 of the Bankruptcy Code (the “Verified Petition”), 1 and the Emergency Ex Parte




1
    Capitalized terms used but not otherwise defined herein shall have the meaning set forth in the Verified Petition.


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Application for Temporary Restraining Order and Relief Pursuant to Sections 105(A) and 1519 of

the Bankruptcy Code (the “TRO Application”), filed contemporaneously herewith.

         7.         I have reviewed the Verified Petition and the TRO Application, and believe the

factual assertions therein are true and correct, and to the best of my knowledge the relief requested

therein is appropriate and necessary for the Receiver to fully and efficiently perform its duties

under the Receivership Order. I further declare as follows:

                                       I.     BACKGROUND

A.       QSI’s Business and Corporate Structure

         8.         QSI is a British Columbia corporation that is extra-provincially registered in

Alberta, Canada. Prior to recent events, the Debtor, by and through the Q’Max Group, provided

oilfield services focused on onshore and offshore drilling fluids, solids control, and waste

management solutions in the upstream oil and gas drilling and producing industry. The Q’Max

Group’s customers include(d) national oil companies, major international energy companies and

independent exploration and production companies in Canada, the United States, Mexico,

Colombia, the Middle East and Africa.

         9.         The Debtor is 100% owned by Fluid Holding Corp. (“Fluid Holding”), which is

also a British Columbia corporation that is extra-provincially registered in Alberta, Canada. The

Debtor is the primary parent entity to the currently or formerly operating and non-operating

regional companies in the Q’Max Group, holding direct or indirect ownership interests in the

Q’Max Group of companies, owning intellectual property licensed by certain of the Q’Max Group

entities, and entering into guarantees and other shared services agreements to the benefit of the

Q’Max Group. QSI’s ownership interests in each of the entities in the Q’Max Group is set forth

on the Corporate Ownership Structure and Control Chart, attached as Exhibit A. The direct or

indirect subsidiary entities relevant to this proceeding are as follows:


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               •    With Fluid Holding and QSI, the “Canadian Debtors”:

                       o Q’Max Canada Operations Inc. (“QCO”), is a British Columbia
                         corporation with a registered office in British Columbia and being
                         extra-provincially registered in Alberta, Canada, conducting its
                         business in Canada;

                       o 1356760 Alberta Ltd. (“135 Alberta”) and Q’Max Solutions
                         Holdings Inc. (“QSH”) are Alberta, Canada corporations with
                         registered offices in Calgary, Canada, conducting their business in
                         Canada;

               •    The non-debtor “Global Operating Companies”: Central Procurement
                    Inc. (“CPI”); Q’Max Mexico, S.A. de C.V. (“Q’Max Mexico”);
                    Environmental Solutions for Petroleum Services – Free Zone – S.A.E.
                    (“Environmental Solutions”); International Drilling Fluids &
                    Engineering Services Co. (IDEC) Ltd. (“IDEC”); United QMax Drilling
                    Fluids Company Co. (“Kuwait JV”); and QMax Arabian Oil & Gas
                    Services Co. (“Saudi JV”); and

               •    The “U.S. Debtors”: Q’Max America Inc. (“QAI”) and Anchor Drilling
                    USA, LLC (“Anchor”) are Delaware corporations conducting business in
                    the United States, including Texas. 2

         10.        When operational, the Debtor maintained a Canadian headquarters at Suite 1700 –

407 2nd Street SW, Calgary, Alberta. Its business and registered offices were located in Canada.

Prior to the terminations/resignations immediately preceding the U.S. Debtors’ filing for chapter

7 bankruptcy relief, QSI’s directors and officers resided in the United States and were, with one

exception, 3 employed by QSI in those respective capacities. Since entry of the Receivership Order,

the Receiver has exercised complete control of the Debtor. QSI does not presently employ any

officers, directors, or employees. All services required by QSI are provided by the Receiver or

third parties employed by the Receiver.




2
  For clarity, the “Q’Max Group” collectively refers to the Canadian Debtors, the Global Operating Companies, and
the U.S. Debtors.
3
  QSI’s former Vice President of U.S. Operations was employed by Anchor.


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         11.        In recent months, the business of the Q’Max Group was negatively impacted by

depressed oil and natural gas pricing and a corresponding reduction in rig and drilling activity.

Such negative impacts were exacerbated by public health restrictions in response to the COVID-19

pandemic. Demand for the Q’Max Group’s products and services thus declined to the detriment

of the Q’Max Group’s earnings.

         12.        As of this filing, the Receiver has determined that QSI and the other Canadian

Debtors will not be sold as going concern businesses. Accordingly, all of QSI’s executives and

other employees have been terminated. QSI’s continued function, by and through the Receiver, is

limited to liquidation of its interests in the Canadian Debtors, sale of the Global Operating

Companies as going concern businesses, to the extent commercially feasible, and liquidation of

any remaining QSI assets for the benefit of QSI’s creditors pursuant to the Receivership Order and

operative law. 4

B.       The Q’Max Group Credit Agreement

         13.        QSI, QCO, and QAI, as borrowers (the “Borrowers”); and HSBC Bank Canada, as

administrative agent (“HSBC” or “Agent”) for certain Lenders, 5 entered into a credit agreement in

May 2014, which has been amended and restated and supplemented by various amending

agreements (collectively, the “Credit Agreement”). Thereunder, the Agent alleges that, as of

May 5, 2020, the total indebtedness of the Borrowers to the Lenders, inclusive of interest, was

approximately (a) USD $145,381,623.21 plus CAD $1,228,668.47; (b) outstanding letters of credit

in the amounts of USD $3,916,296.42 and CAD $1,161,408.79; and (c) other outstanding credit



4
  The U.S. Debtors, as explained below, are chapter 7 debtors and thus undergoing a liquidation process separate
from the Canadian Proceeding.
5
  The Agent acts on behalf of a syndicate of predominantly Canadian based lenders, currently comprised of HSBC,
Bank of Montreal, Business Development Bank of Canada, Export Development Canada and HSBC Bank USA
(collectively, and in such capacity, the “Lenders”). The Borrowers and Lenders are collectively referred to as the
“Loan Parties”.


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card balances, plus accrued and accruing costs and disbursements, and interest continuing to accrue

per diem (collectively, the “Indebtedness”).

         14.        Each of QSI, QSH, 135 Alberta, QCO, QAI, and Anchor have executed unlimited

guarantees of the Indebtedness. Fluid Holding has granted a limited recourse guarantee in favor

of the Agent. Further guarantees of the Indebtedness have been granted by other non-Canadian

and non-U.S. members of the Q’Max Group.

         15.        Among other security and collateralization, general security agreements (the

“GSAs”) were granted to secure amounts advanced under the Credit Agreement by QSI, QSH, 135

Alberta, QCO, QAI, and Anchor, which provide first-priority security interests on all or

substantially all of the grantors’ assets.

         16.        Furthermore, a separate credit agreement (the “U.S. Credit Agreement”) was

entered between QAI, as holding company, and Anchor, as borrower; and Encina Business Credit,

LLC (“Encina”), as administrative agent on behalf of certain lenders. Pursuant thereto, Encina

asserted that the U.S. Debtors defaulted under the U.S. Credit Agreement and owed in excess of

USD $23,884,000. On September 6, 2019, the Agent and Encina, as ABL agent, entered into that

certain Intercreditor Agreement (the “Intercreditor Agreement”), the purpose and effect of which

was to subordinate a portion of the Agent’s security to security held by Encina in respect of funds

owing under the U.S. Credit Agreement by the U.S. Debtors. Notably, there is no overlap between

the lenders to the U.S. Credit Agreement and the Lenders to the Credit Agreement.

C.       The Canadian Receivership Proceeding

         17.        On May 12, 2020, following approximately two years of extensive unsuccessful

restructuring negotiations, the Agent, on behalf of the Lenders, issued to the Borrowers a demand

letter that included notices of intention to enforce security under section 244(1) of the BIA and to

accelerate the Indebtedness under the Credit Agreement. On May 27, 2020, as expressly permitted


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by the GSAs, the Agent filed an Application for Appointment of a Receiver seeking the

appointment of KPMG as receiver under section 243(1) of the Bankruptcy and Insolvency Act,

R.S.C. 1985, c, B-3, section 13(2) of the Judicature Act, R.S.A. 2000 c J-2 (the “Judicature Act”),

and 65(7) of the Personal Property Security Act, R.S.A. 2000, c P-7.

         18.        On May 28, 2020, the Honorable Justice Grosse for the Canadian Court entered the

Receivership Order pursuant to section 243 of the BIA and section 13(2) of the Judicature Act.

         19.        The Receivership Order appointed the Receiver over the estates of the Canadian

Debtors. The Receivership Order specifically authorizes the Receiver to act “as a representative

in respect of the within proceedings for the purpose of having these proceedings recognized in a

jurisdiction outside Canada.” (Receivership Order ¶ 31). It empowers and authorizes the Receiver

to take numerous steps involving the property of the entities subject to the Canadian Proceeding.

(Receivership Order ¶ 3). The Receivership Order grants the Receiver access to all of the Debtors’

books, records, contracts, securities, and information. (Receivership Order ¶¶ 4-6). Additionally,

the Receivership Order imposes a stay of initiation or continuation of proceedings against the

Receiver, the Debtor, and/or the other Canadian Debtors and their respective estates. (Receivership

Order ¶¶ 7-11).

         20.        The Receivership Order also grants the Receiver a charge (the “Receiver’s

Charge”) on all of the Canadian Debtors’ current and future assets, undertakings, and properties

of every nature or kind whatsoever, and wherever located, including all proceeds thereof

(collectively, the “Property”) to secure payment of the reasonable fees and expenses of the

Receiver and its counsel, not to exceed CAD $1,000,000 (or such greater amount as the Canadian

Court may by further order authorize). (Receivership Order ¶ 18). The Receiver’s Charge has the

priority set forth in paragraph 18 of the Receivership Order.




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           21.       The Receivership Order further authorizes the Receiver to borrow, by way of a

revolving credit or otherwise, such monies from time to time as it may consider necessary or

desirable, provided that the outstanding principal amount does not exceed CAD $8,000,000 (or

such greater amount as the Canadian Court may by further order authorize) on the terms authorized

therein. (Receivership Order ¶ 21). The Canadian Court granted a charge (the “Receiver’s

Borrowings Charge”) on the Property to secure payment of the monies borrowed, together with

interest and charges thereon, by the Receiver pursuant to the Receivership Order.

           22.       Consistent with section 14.06(1.2) of the BIA, the Receivership Order provides that

“[t]he Receiver shall not be liable for any employee-related liabilities, including any successor

employer liabilities . . . , other than such amounts as the Receiver may specifically agree in writing

to pay, or in respect of its obligations under sections 81.4(5) or 81.6(3) of the BIA or under the

Wage Earner Protection Program Act . . . .” (the “Receiver’s Protections”). (Receivership Order

¶ 14). 6

           23.       The Receivership Order includes a request by the Canadian Court for “aid and

recognition of any court . . . having jurisdiction in Canada or in any foreign jurisdiction . . . , to

give effect to [the Receivership Order] and to assist the Receiver and its agents in carrying out the

terms of [the Receivership Order].” (Receivership Order ¶ 30).

           24.       KPMG, in its capacity as Receiver, is a Court officer and thus its fiduciary duties

extend to the entire body of the Debtor’s stakeholders, not to any one stakeholder.




6
    Section 14.06(1.2) of the BIA provides:
      Despite anything in federal or provincial law, if a trustee, in that position, carries on the business of a debtor or
          continues the employment of a debtor’s employees, the trustee is not by reason of that fact personally liable
          in respect of a liability, including one as a successor employer,
      (a) that is in respect of the employees or former employees of the debtor or a predecessor of the debtor or in
          respect of a pension plan for the benefit of those employees; and
      (b) that exists before the trustee is appointed or that is calculated by reference to a period before the appointment.


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D.       U.S. Debtors’ Chapter 7 Proceeding

         25.        On May 24, 2020, the U.S. Debtors—QAI and Anchor—filed voluntary petitions

for relief under chapter 7 of the Bankruptcy Code in the United States Bankruptcy Court for the

Southern District of Texas, Victoria Division (the “Court”), jointly pending at Case No. 20-60030-

CML (the “Chapter 7 Proceeding”).

         26.        On May 24, 2020, the United States Trustee appointed Christopher R. Murray, as

the chapter 7 trustee (the “Trustee”). On June 3, 2020, the Trustee filed a motion to, inter alia,

approve a stalking horse bidder sale agreement and bid procedures [Dkt. No. 74].

         27.        On July 1, 2020, the Court entered an order approving the sale of a portion of the

U.S. Debtors’ assets, principally including operations in the Northeast United States, to Paragon

Integrated Services Group LLC (“Paragon”) for the sum of USD $7,200,000, plus assumption of

the remaining Encina debt. As described in the July 23, 2020 Trustee’s Status Report, the Trustee

anticipates that the remainder of the U.S. Debtors’ assets will be liquidated by December, 2020.

See Case No. 20-60030, Dkt. No. 273.

E.       Pending U.S. Civil Actions

         (1)        Intellectual Property Dispute

         28.        On April 6, 2018, M-I L.L.C. d/b/a M-I Swaco (“M-I”) filed in the United States

District Court for the Southern District of Texas an action against QSI, QAI, and Sanjit Roy

(“Roy”; and collectively with QSI and QAI, the “Defendants”) alleging copyright infringement,

misappropriation of trade secrets, and conversion against all Defendants (and additional causes

against former employee Roy) based on M-I’s assertion that the Defendants infringed on M-I’s

intellectual property rights through QSI’s creation and ownership of a product named MAXSITE

Hydraulics (“MAXSITE”).            See Civ. A. No. 18-cv-01099 (S.D. Tex. 2018) (S. Lake) (the

“MAXSITE Action”).            M-I argues that Roy, upon leaving his employ at M-I, unlawfully


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maintained copies of the source code for Virtual Hydraulics and Presspro RT (the “M-I Software”),

software that M-I developed for oil and gas drilling, and, upon joining QAI in April, 2015, used

the M-I Software to design MAXSITE.

         29.        In relevant part, on November 18, 2019, the Defendants filed their motion for

summary judgment, seeking summary relief with respect to M-I’s copyright infringement claim

[Dkt No. 128] (“Defendants’ MSJ”).

         30.        On August 6, 2020, Judge Sim Lake entered his Memorandum Opinion and Order

(the “MSJ Order”), which, among other things, granted the Defendants’ motion for summary

judgment and dismissed with prejudice M-I’s copyright claim against QSI and QAI. The MSJ

Order held that M-I failed to identify any protectable non-literal elements of its copyrighted work

and failed to show evidence that protectable portions of the source code were important enough to

M-I’s overall program to render MAXSITE substantially similar to them. See MSJ Order, Case

No. 18-cv-01099, Dkt. No. 146.

         31.        The MSJ Order also dismissed without prejudice QAI as defendant on account of

the Chapter 7 Proceeding and operation of the automatic stay. The MAXSITE Action continues

based on the remaining counts against QSI and Roy.

         32.        The Receiver has approached M-I, by and through counsel, and M-I has been

unwilling to recognize the stay set forth in the Receivership Order.

         (2)        The Guarantor Action

         33.        On September 17, 2020, plaintiff Atlas Energy Tower LLC (“Atlas”) filed its

Plaintiff’s Original Complaint against defendant QSI in the District Court of Harris County, Texas,

seeking an award of damages against QSI based on QSI’s alleged breach of a Guaranty Agreement

executed by QSI relating to tenant QAI’s occupancy of Level 2 of the office building known as




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Energy Tower I (the “Guarantor Action”). See Cause No. 2020-57316. Atlas seeks judgment in

the amount of more than USD $3 million, plus interest, attorney’s fees and expenses.

F.       Receivership Status and Pending Sales Processes

         34.        Since its appointment approximately four (4) months ago, the Receiver has spent

significant time analyzing the books and records of the Canadian Debtors, the Global Operating

Companies, and many additional non-operating QSI subsidiary entities to assess the assets and

liabilities of the Q’Max Group.           In connection therewith, the Receiver has engaged in a

comprehensive marketing and sale process in Canada and in the relevant regional markets in order

to maximize value for the respective creditors and stakeholders.

         35.        To date, the Receiver has determined that it is not commercially feasible to sell QSI

and/or the other Canadian Debtors as going-concern businesses. Accordingly, a liquidation

process is underway.

         36.        Conversely, the Receiver believes that one or more of the Global Operating

Companies should be sold as an operating business or businesses, and the Receiver continues to

facilitate operations—by and through parent company QSI—and market the entities accordingly.

Moreover, for various business reasons, the Receiver has determined that any sale of the Global

Operating Companies must be conducted as a sale of the respective entities’ equity interests, which

are held in whole or in significant part by QSI. Therefore, any sale of QSI’s equity interests in the

Global Operating Companies, by operation of Canadian law, will be completed with full notice to

QSI creditors and must be approved by the Canadian Court. It is contemplated that the MAXSITE

intellectual property will be licensed as part of any going concern sale, to the extent allowed by

the Canadian Court and operative law. The Receiver believes that the rights to MAXSITE are

owned by, and only by, QSI, except as licensed to various affiliated and/or third parties.




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         37.        Although the Receiver has and will continue to take steps to maximize value to the

fullest extent possible in connection with fulfilling its fiduciary obligations under the Receivership

Order and Canadian law, it does not project under the current and foreseeable market conditions

that the Q’Max Group will return amounts sufficient to make a distribution to unsecured creditors.

G.       The Chapter 15 Case and Support for Recognition

         38.        Contemporaneously herewith, as foreign representative, the Receiver has caused to

be filed Official Form 401 Chapter 15 petition for the Debtor in the above referenced case. As

foreign representative for the Debtor in this chapter 15 case, the Receiver seeks recognition of the

Canadian Proceeding as the foreign main proceedings for the Debtor, or, in the alternative, as a

foreign nonmain proceeding.

         39.        Pursuant to the Receivership Order, the Receiver is the foreign representative of

QSI and is specifically authorized to act as QSI’s representative for the purpose of having the

Canadian Proceeding recognized in a jurisdiction outside of Canada, including the United States.

         40.        To the best of my knowledge and for the reasons stated in the Verified Petition, I

believe that the Canadian Proceeding is a foreign main proceeding as defined under section

1502(4) of the Bankruptcy Code, or, in the alternative, a foreign nonmain proceeding as defined

under section 1502(5) of the Bankruptcy Code.

         41.        The Debtor is a liquidating enterprise that is organized in Canada, is controlled by

the Receiver (located in Canada), and does not have any executives or other employees (thus

having no present management outside of Canada). As of the Petition filing, the Debtor has been

in receivership for approximately four (4) months and is in the midst of an advanced sale and

liquidation process in the Canadian Proceeding. The Debtor’s headquarters is best described as of

this filing as the office of the Receiver in Canada; and the Debtor’s prior headquarters and its

address for service of process were located in Alberta and British Columbia, respectively. The


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Debtor’s principal assets and liabilities are also located in Canada, including its (a) ownership

interest in the equity of the Q’Max Group, which includes Canadian, U.S. and other international

entities; (b) contractual rights, most of which were executed in Canada and are subject to Canadian

law; (c) rights to the MAXSITE and certain other intellectual property; and (d) its obligations

under the Credit Agreement and to other Canadian creditors, among others. With respect to the

last point, amounts owed under the Credit Agreement represent the vast majority of the Debtor’s

outstanding obligations. The Credit Agreement is governed by the laws of the Province of Alberta

and the federal Laws of Canada; the Agent is a Canadian financial institution with offices in

Alberta, including branch offices in Calgary; and all but one of the present Lenders in the syndicate

are Canadian entities. 7

H.         Support for the Application and Injunctive Relief

           42.      Pending recognition of the Canadian Proceedings, the Receiver requests

provisional relief pursuant to section 1519 of the Bankruptcy Code to, among other things, enjoin

collection efforts against the assets of the Debtors and to frustrate the sales processes and efforts

to maximize value by the Receiver. To the best of my knowledge, I understand that relief granted

pursuant to section 1519 requires satisfaction of the standards for injunctive relief, which, as shown

below, are satisfied.

           (1)      A substantial likelihood of success on the merits

           43.      For the reasons set forth above, in the Verified Petition and in the TRO Application,

the Receiver submits that it is likely to prevail in obtaining recognition of the Canadian Proceeding.

The Canadian Proceeding is a valid proceeding pending pursuant to the BIA and Judicature Act

that should be recognized pursuant to chapter 15 of the Bankruptcy Code. As I understand the



7
    Canadian-organized Lenders are owed nearly 91% of the amounts outstanding under the Credit Agreement.


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concept, the center of main interests (“COMI”) of the Debtor is located in Canada for the reasons

discussed above. The Receiver has been performing its duties for approximately four (4) months,

and has made substantial progress in its assessment, marketing, and sale efforts for the benefit of

the Debotr’s entire creditor body. The Receiver has replaced all pre-receivership, decision-makers

(who have each resigned or were dismissed) for QSI. Further, the Receiver respectfully submits

that the Debtor’s COMI would have been Canada prior to entry of the Receivership Order,

irrespective of the fact that QSI’s pre-liquidation officers and directors resided in the United States,

because QSI employed the directors and officers and conducted business as a Canadian entity;

QSI’s immediate parent company, Fluid Holding, is a Canadian entity; and QSI controlled one or

more Canadian operating entities that actively conducted business in Canada.

         44.        Accordingly, there is a substantial likelihood that the Canadian Proceeding and,

specifically, the Receivership Order will be recognized pursuant to chapter 15 of the Bankruptcy

Code; and, respectfully, should be recognized as a foreign main proceeding based on my

understanding of chapter 15 and similar recognitions of receivership actions pending under the

BIA and the Judicature Act.

         45.        If the Court does not find that the Canadian Proceeding is a foreign main

proceedings, the Receiver submits that the facts underlying this chapter 15 proceeding support a

finding that the Debtor has an establishment in Canada within the meaning of section 1502(2) of

the Bankruptcy Code, and thus there is a substantial likelihood that the Court will recognize the

Canadian Proceedings as foreign nonmain proceedings. In the event the Canadian Proceeding is

recognized as a foreign nonmain proceeding, the Receiver also submits that there is a substantial

likelihood that the Court will determine that the relief requested is necessary to effectuate the




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purpose of chapter 15 and to protect the assets of the Debtor or the interests of the Debtor’s

creditors pursuant to sections 1519(a) and 1521(a) of the Bankruptcy Code.

         (2)        A substantial threat of irreparable injury if the injunction is not issued

         46.        To the extent necessary to effectuate liquidation of the Canadian Debtors, sale of

the Global Operating Companies, and to otherwise complete its duties set forth in the Receivership

Order, the Receiver continues to operate QSI and/or oversee operations of the Q’Max Group

through QSI. Without injunctive relief recognizing the Receiver’s authority in the United States

per the Receivership Order, including the staying of the MAXSITE Action and the Guarantor

Action, the Receiver will be frustrated from performing its duties, and the value of the Debtor’s

assets could be jeopardized.

         47.        To permit the Receiver to fulfill its obligations to the Canadian Debtors’ estates,

the Receivership Order provides for substantially similar powers and protections pursuant to

Canadian law as those afforded to a chapter 7 trustee under the Bankruptcy Code. Among others,

the Receiver’s Charge, the Receiver’s Borrowings Charge, the Receiver’s Protections, the stay of

all collection activities akin to 11 U.S.C. § 362, and the grant of specific authority for the Receiver

to seek international recognition of the Receivership Order provides the Receiver with vital powers

to maximize value for all rightful creditors.

         48.        Without recognition and enforcement of the Receivership Order to the fullest extent

permitted by chapter 15, the Receiver will be unable to fully discharge its duties to all creditors,

specifically including direct negative impact to the Receiver’s ability to sell QSI’s equity interests

in the Global Operating Companies for maximum value and causing the Receiver to expend finite




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resources to defend actions that are intended to be stayed by the Receivership Order and by

operation of Canadian law. 8

         (3)        That the threatened injury to the movant outweighs any damage the injunction
                    might cause to the opponent

         49.        I believe that any threatened injury to the Debtor outweighs any damage the

injunction might cause to opponents. The requested relief, if granted, would benefit the Debtor’s

creditors, as a whole, by facilitating the Receiver’s efforts to maximum value for the assets—

namely QSI’s equity interests in the Q’Max Group—and an orderly distribution of that value by

and through the Canadian Proceeding.

         (4)        That the injunction will not disserve the public interest

         50.        Finally, the requested relief will not disserve the public interest. To the contrary,

granting the relief serves the public interest because it sets to facilitate a cross-border

reorganization that will provide a benefit to all rightful creditors of the Debtor.

         51.        For the above stated reasons and to the best of my knowledge, I respectfully submit

that the relief sought is necessary and appropriate, in the interest of the public and international

comity, and will not cause any hardship to any party in interest that is not outweighed by the

benefits of granting the requested relief. In the event that the Court finds that the Canadian

Proceeding is a foreign nonmain proceedings, the relief requested is still appropriate because the

relief may be—and should be—granted in the discretion of the Court.




8
  Notably, the Receiver attempted to avoid the costs associated with seeking chapter 15 relief, but files at this time
based on various recent circumstances, including but not limited to the ruling in favor of QSI and QAI via the MSJ
Order, the related dismissal of QAI, the subsequent insistence by M-I to continue with the suit against QSI, and the
filing of the Guarantor Action.


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         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

United States of America that the foregoing is true and correct.

Respectfully submitted this 30th day of September, 2020,

                                                         KPMG INC., solely in its capacity as
                                                         court-appointed receiver and manager
                                                         of Q’Max Solutions Inc.


                                                         By:_________________________
                                                            Anamika Gadia
                                                            Senior Vice President




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                               EXHIBIT A




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                                                                                                                                                                                                                                                                              Owners & Officers
                                                                                                                                                        Palladium Equity Partners IV LLC                                                                                      Marcus A. Rodriguez
                                                                                                                                      Registered as Relying Advisor via affili ate Palladium Equity Partners
                                                                                                                                                        Adv isor, LLC (SEC CRD #15906)
                                                                                                                                                                                                                                                                              David Perez
                                                                                                                                                                                                                                                                              Kevin L. Reymond
                                                                                                                                                                                                                                                                              Erik A. Scott                                                                                                                                                                         Joint Venture
                                                                                                                                                                                       General Partner                                                                        Luis Zaldivar




                                                                                                        Controls
                                                                                                                                                                                                                                   Controls
                                                                                                                                                                                                                                                                              Eugenie M. Cesar-Fabian




                                                                                                       Manages and
                                                                                                                                                                                                                                  Manages and
                                                                                                                                                       Palladium Equity Partners IV, L.P.                                                                                                                                                                                                                                                                             Dissolving
                                                                                                                                                                                                                                                                                                                                                                 QMAX
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Ultimate
                                                                                                                                                                                                                                                                                                                                                          CORPORATE OWNERSHIP                                                                                       Shareholders




                                                                                                                                                                                                                                    Affiliated
                                                                                                                                                                                                                                                             Directors




                                                                                                        Affiliated
                                                                                                                                                               Fluid Global G.P. Corp                                                                        Adam Shebitz
                                                                                                                                                                 BC Corp No. BC0999308                                                                       David Perez
                                                                                                                                                                                                                                                                                                                                                         STRUCTURE AND CONTROL                                                                                          Branch
                                                                                                                                                                    Inc. April 10, 2014
                                                                                                                                                                                                                                                             Daniel Ilundain

                                                                                                                                                                                General Partner
                                                                                                                                                                                                                                                                                                                                                                 CHART                                                                                         (1) Wael Elessawy: 10%
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Seedat Ahmed: 5%
                                                                                                                                                                                                                                                                                                                                                                                   as of 10.2.19
                                                                                                                                                                 PEP Fluid G.P. L.P.
                                                                                                                                                                            Cayman
                                                                                                                                                                                                                                                                                                                                                                           PRIVILEGED AND CONFIDENTIAL                                                          (2) Adb Touabi: 7%
                                                                                                                                                                                                                                                                                                                                                                           FOR INTERNAL PURPOSES ONLY                                                           Adlane Daoudi: 14%
                                                                                                                                                                                                                                                                                                                                                                                                                                                                Naella Madani: 30%
                                                                                                                                      General                                                                General
                                                                                                                                                                                                                                                                                                                                                                                                                                                               (3) United Oil Projects
                                                                                                                                      Partner                                                                Partner
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Company (K.S.C.C.)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        51%
                                                                            Calumet Specialty                                       PEP Fluid Co-Invest L.P.                                PEP Fluid L.P.
                                                                          Products Partners, L.P.                                                Cayman                                        Cayman                                                                                                                                                                                                                                                                (4) Cimbar
                                                                                                                                                                                                                                                                                                                                                                                                                                                               Performance Minerals
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   WV, LLC: 50%

                                                                                                                                                                                                                                                                                                                                                                                                                                                                  (5) Ahmad Samir
                                                                                                                                                                                                                                                                                                                                                                                                                                                               Albinali Company: 49%

                                                                                                                                                                 Fluid Holding Corp
                                                                                                                                                                 BC Corp. No.BC0999796
                                                                                                                                                                    Inc. April 16, 2014




                                                                                                                          QM Holding Corp                      100%
                                                                                                                          BC Corp. No.BC1206277
                                                                                                                             Inc. April 25, 2019

                                                                                                                                                                                                         100%          1356760 Alberta Ltd.
                                                                                                                                                                                                                        AB Corp. No. 2013567603
                                                                                                                                                                                       100%                                 Inc. Oct 17 2007
                                                                           International Drilling Fluids
                                                                           & Engineering Services Co. 8  85%(1)
                                                                                                                                                            Q’Max Solutions Inc.
                                                                                   (IDEC) LTD.                                                             BC Corp. No. BC1003177
                                                                                   BVI BC NO 1696871                                                          Inc. Sept 16 1993                                                                     .07%
                                                                                    Inc. Feb 20 2012
                                                                                                                                                                                                                    QMax do Brasil Solucoes
                                                                                                                                                                                                                      do Petroleo Ltda
                                          100%                      100%                            100%                          100%                          100%                                     99.9%          Brazil NIRE 3220140048 7
                                                                                                                                                                                                                             Inc. Feb 9 2009
                              South Sudan                                           Dubai Branch                                                                                                                                                                                                                        Uganda Branch                      Chad Branch
                                                          Iraq Branch                                                   Kenya Branch               Tanzania Branch
                                Branch                                          DMCC License No. DMCC-                                                                                                                                                                                                                 Co. No.8002000014 1707         Reg. No RCCMTC/NDJ/17B584
                                                     Kurdistan Reg. No. 20635                                          Permit No. 1419355        Registration. No. 121868
                               Reg. No. 195                                             32478                                                                                                                                                                                                                            Reg. March 15, 2017                Reg. Nov 21, 2017
                                                        Reg. July 21 2014                                               Reg. Dec 17 2014            Reg. Nov 24 2015
                             Reg. Sept 14 2012                                     Reg. Sept 6 2012

                                                                                                                                                                                                                                                                                                                                        100%                              100%
                100%                             100%                                  100%                                          100%                                            100%                                                                                    100%                               100%
                                                                                                                                                                                                                       99.9%                                                                                                                 49%(3)                                51%(5)                       100%                          99.9%                             99.98%
                                                                                                                                                                                                                                                           Q’Max Solutions Singapore                                                                                                                                                                           Environmental Solutions for
QMax Financial Holdings     QMax Canada Operations                                                                                                                                                                                               .01%                                                                   United QMax Drilling Fluids    QMax Arabia for Oil & Gas            Tri-Max Solutions Limited      Q’Max Solutions Holdings                                                 .01%
                                                                   Central Procurement Inc.                          Central Procurement Inc.                  QMax Middle East FZE                     QMax Ecuador S.A.                                          Pte. Ltd.                    India Project Office                                                                                                                                    .01%    Petroleum Services – Free
         Inc.                        Inc.                                                                                                                                                                                                                                                                                                                                                          Trinidad & Tobago                 Inc.
                                                                      Delaware File No. 5992714                        Barbados Corp. No.15133                    JAFZA Reg. No. 180435            Ecuador RUC No. 1791399757 001                                                                 Reg. No. 205800469          Company Co.              Services Limited Company                                                                                       Zone – S.A.E.
   BC Corp. No. BC1206278       BC Corp. No. BC1060333                                                                                                                                                                                                      Singapore Corp. No. 201506359E                                                                                                      Co. No. C2017042103 834       AB Corp. No. 2012853491
                                                                         Inc. March 18 2016                               Inc. March 16 1998                         Inc. May 17 2016                     Inc. April 15 1998                                                                       Reg. June 19 2008             Inc. July 9, 2017            Inc. Sept 18, 2018                                                                                      Egypt Reg. No. 1533
      Inc. April 25, 2019      Inc. in AB on May 9 2012                                                                                                                                                                                                           Inc. March 10 2015                                                                                                                Inc. April 13, 2017            Inc. Dec 4 2006
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Inc. April 26 2007




                                                                                                                                      100%                                                                          99.9%                                                                                                                                                                                                                       100%
                                                                                          100%                                                                                                                                                                                                                                                                                                                                                                                       49%*(2)

                                                                                                                        Colombia Branch                                                                                                          .06%                                                                                                                                                                                                   .1%         SARL Environmental
                                                                       Q’Max America Inc.                                                                                                               QMax Peru S.A.C.                                                                                                                                                                                                   QMax Mexico, S.A. de C.V.
                                                                      Delaware File No. 3393010                          Reg. No. 830095262                                                          Peru RUC N o. 2050333205 2                                                                                                                                                                                              Mexico RFC QME000424KB1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Solutions Algeria
                                                                          Inc. May 16 2001                                                                                                                Inc. Nov 23 2001                                                                                                                                                                                                        Inc. April 7 2000             Algeria Reg. No. 16/00-0988267B13
                                                                                                                           Reg. Oct 12 2001
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inc. Dec 10 2015




                                                                                            100%                                                                                                                                                                                                                                                                                                                99.9%                         99.9%                                  99.9%
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     99 9%
                                                                  Anchor Drillings Fluids USA,                                                                                                                                                                                                                                                                                                   QMax Servicios            ..1%
                                                                                                                                                                                                                                                                                                                                                                                                                             1QMax
                                                                                                                                                                                                                                                                                                                                                                                                                              % Servicios Tecnicos      .1%    QMax Servicios de Ingenieria         .1%
                                                                              LLC                                                                                                                                                                                                                                                                                                           Administrativos S.A. de C.V.           S.A. de C.V.                       S.A. de C.V.
                                                                      Delaware File No. 5923464                                                                                                                                                                                                                                                                                               Mexico RFC QSA1201207U03       Mexico RFC QST1201209X8               Mexico RFC QSI1201209V0
                                                                        Formed Dec 31, 2015                                                                                                                                                                                                                                                                                                        Inc. Jan 19 2012               Inc. Jan 19 2012                     Inc. Jan 19 2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Case 20-34791 Document 6 Filed in TXSB on 09/30/20 Page 19 of 19




                                                                                            50%(4)

                                                                      C&A Grinding, L.L.C.
                                                                       Georgia File N o. 11082749
                                                                          Formed Nov 3, 2011
